      Case 1:23-cv-09304-DEH           Document 180         Filed 08/16/24     Page 1 of 3




                                                             U.S. Department of Justice




                                                             950 Pennsylvania Avenue NW
                                                             Washington, D.C. 20530

                                                             August 16, 2024

VIA CM/ECF
Hon. Dale E. Ho
U.S. District Judge
U.S. District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

Re: United States v. M/Y Amadea, No. 23-cv-9304 (DEH)

Dear Judge Ho,

The Government respectfully seeks reconsideration of the portion of the Court’s August 13
Order (ECF No. 175) denying the Government leave to submit a supplemental brief regarding its
motion to strike Claimants’ claim for lack of standing. The Government recognizes that
reconsideration is sparingly granted and, especially given the Court’s concern about serial
filings, does not make this request lightly. But the Court’s Order precludes the Government from
presenting critical new evidence Claimants produced after briefing which shows that their entire
summary judgment story—namely, that the Errigal sale was just a “temporary use arrangement”
between Khudainatov and Kochman—is a falsehood. The new evidence shows that, contrary to
Claimants’ representations, Kochman did not pay a dime under the Errigal transaction. Instead,
the entire €225M was paid by Suleiman Kerimov’s niece, Alisa Gadzhieva. The Government
believes no reasonable factfinder could credit Claimants’ story of events once the Gadzhieva
evidence is put before the Court, which means it is both proper and critically important for the
Court to consider this evidence in determining whether to grant summary judgment. As the
Supreme Court has explained, evidence showing that one party’s narrative is “blatantly
contradicted by the record” should be considered at summary judgment:

       Where the record taken as a whole could not lead a rational trier of fact to find for the
       nonmoving party, there is no genuine issue for trial. The mere existence of some alleged
       factual dispute between the parties will not defeat an otherwise properly supported
       motion for summary judgment; the requirement is that there be no genuine issue of
       material fact. When opposing parties tell two different stories, one of which is blatantly
       contradicted by the record, so that no reasonable jury could believe it, a court should not
       adopt that version of the facts for purposes of ruling on a motion for summary judgment.
      Case 1:23-cv-09304-DEH           Document 180        Filed 08/16/24      Page 2 of 3




Scott v. Harris, 550 U.S. 372, 380 (2007) (emphasis in original, internal citations and quotation
marks omitted). As such, the proposed supplemental brief would not require adjudication of new
contested issues of fact, but rather would show that Claimants’ narrative does not present a
genuine dispute of fact and could not be credited by a reasonable factfinder.
The Government recognizes the Court’s concern about avoiding serial supplemental submissions
and is not seeking additional supplemental briefing beyond this current request. The Government
would also omit all new evidence from its supplemental brief except the Gadzhieva evidence,
which would cut the size of the brief down to a mere two pages. 1 The Government further would
not oppose a brief by Claimants to respond to the Gadzhieva evidence.
For all these reasons, the Government respectfully seeks reconsideration so that it can present the
new Gadzhieva evidence for the Court’s consideration. Claimants oppose this request.



                                                     Respectfully Submitted,


                                                     DAMIAN WILLIAMS
                                                     United States Attorney
                                                     Southern District of New York
                                                     U.S. Department of Justice

                                                     By: /s/ Jennifer Jude
                                                     JENNIFER JUDE
                                                     DOMINIKA TARCZYNSKA
                                                     Assistant U.S. Attorneys
                                                     Southern District of New York

                                                     MARGARET A. MOESER
                                                     Chief
                                                     Money Laundering and Asset Recovery
                                                     Section, Criminal Division
                                                     U.S. Department of Justice

                                                     By: /s/ Joshua L. Sohn
                                                     JOSHUA L. SOHN
                                                     D. HUNTER SMITH
                                                     Trial Attorneys
                                                     Money Laundering and Asset Recovery
                                                     Section



       1
       The Gadzhieva documents themselves are a mere eight pages collectively, though the
Government does wish to also include one or two Declarations to explain who Gadzhieva is.
      Case 1:23-cv-09304-DEH      Document 180   Filed 08/16/24     Page 3 of 3




                                            JENNIFER KENNEDY GELLIE
                                            Executive Deputy Chief
                                            Counterintelligence and Export Control
                                            Section, National Security Division
                                            U.S. Department of Justice

                                            By: /s/ Yifei Zheng
                                            YIFEI ZHENG
                                            Trial Attorney
                                            Counterintelligence and Export Control
                                            Section

cc: Claimants’ counsel (by ECF)
